      Case 3:23-cv-09962-TKW-ZCB     Document 74     Filed 04/22/24   Page 1 of 6




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 STATE OF FLORIDA,

        Plaintiff,

 v.                                           Case No. 3:23-cv-9962-TWK-ZCB

 ALEJANDRO MAYORKAS;
 et. al,

        Defendants.


          DEFENDANTS’ APRIL 2024 SUPPLEMENTAL REPORT

       In accordance with the Court’s December 20, 2023 Order (ECF No. 65),

Defendants submit the attached Declaration of Donna Vassilio-Diaz (“Vassilio-Diaz

Decl.”) with attached reporting data. The Court’s most recent order required

Defendants’ subsequent reports to focus on the 438 noncitizens who are either

“unaccounted for” or have not been issued a Notice to Appear (“NTA”) as of

Defendants’ December 2023 supplemental report, in lieu of the information required

by prior orders. ECF No. 65. Specifically, the Court required Defendants report the

following information in regard to the 2,572 noncitizens who were released from U.S.

Customs and Border Protection (“CBP”) after 11:59 p.m. ET on May 11, 2023: (1)

an updated summary of the status of all 2,572 noncitizens who were released after the

Court enjoined the PWC policy—i.e., checked in and issued an NTA, checked in but


                                          1
    Case 3:23-cv-09962-TKW-ZCB         Document 74     Filed 04/22/24   Page 2 of 6



not issued an NTA, or not checked in/unaccounted for; (2) an updated summary chart

of the check-in locations; (3) the number of unaccounted for noncitizens who have

checked in since the last report, along with the date and location of the check-in,

whether an NTA was issued at check-in, and whether any enforcement action was

taken against the noncitizen other than the issuance of an NTA; (4) the number of

noncitizens who have been issued an NTA since the last report, along with when and

how the NTA was issued, whether the alien was released or detained after the NTA

was issued, and what legal authority the release were based; and (5) how many of

2,572 noncitizens who were released after the PWC policy was enjoined are still in

the country and, of those, how many are detained. ECF No. 65.

       As explained in the attached declaration of Donna Vassilio-Diaz, in response

 to the Court’s first question, ICE reports that of the 2,572 noncitizens identified for

 this reporting, 2,545 have checked in with ICE, while 27 have not checked in.

 Vassilio-Diaz Decl. ¶ 5. Out of the 2,545 noncitizens who have checked in, 2,206

 individuals have been served with a charging document currently pending on an

 EOIR docket. Id. ¶ 8.

       In response to the Court’s second question, ICE provides the following

 breakdown of the number of noncitizens who checked in with specific ICE ERO

 Offices:




                                           2
    Case 3:23-cv-09962-TKW-ZCB        Document 74     Filed 04/22/24   Page 3 of 6



                        Check-In Location              Count
                        Atlanta, GA                        146
                        Baltimore, MD                       48
                        Boston, MA                         202
                        Buffalo, NY                         17
                        Chicago, IL                        254
                        Dallas, TX                         118
                        Denver, CO                         101
                        Detroit, MI                         73
                        El Paso, TX                         24
                        Harlingen, TX                        1
                        Houston, TX                         60
                        Los Angeles, CA                    101
                        Miami, FL                          175
                        New Orleans, LA                     83
                        New York City, NY                  429
                        Newark, NJ                         147
                        Philadelphia, PA                    59
                        Phoenix, AZ                         25
                        Salt Lake City, UT                  63
                        San Antonio, TX                     46
                        San Diego, CA                        7
                        San Francisco, CA                  177
                        Seattle, WA                         49
                        St. Paul, MN                        43
                        Washington, DC                      97
                        Total                            2,545

Id. ¶ 6. The “Check-In Location” for an in-person check-in reflects the Area of

Responsibility (AOR) where it occurred. Id. For an online check-in, “Check-in

Location” reflects the location where the appointment was made. Id.

      In response to the Court’s third question, ICE reports that there were four new

check-in since the last report. Id. ¶ 7. Three of these check-ins were individuals who

filed asylum applications with U.S. Citizenship and Immigration Services (USCIS)


                                             3
     Case 3:23-cv-09962-TKW-ZCB        Document 74    Filed 04/22/24   Page 4 of 6



in New York City, NY with no NTAs issued; and one individual was returned to CBP

at the Champlain, NY port of entry in the custody of Canada Border Services Agency

as their attempt to claim asylum in Canada did not meet an exemption to the Safe

Third Country Agreement, so an NTA was issued in person that same day. Id.

       In response to the Court’s fourth question, out of the 2,545 noncitizens who

have checked in, 2,206 individuals have been served with a charging document. Id. ¶

8. There were eight (8) new charging documents issued since last month’s report. Id.

Four of the eight new charging documents were served via mail and therefore, no

additional action was taken at the time of NTA service. Id. The remaining four were

served in person, and no additional actions were taken at the time of the NTA service

for three of those noncitizens. Id. One noncitizen was detained at the time of issuance

and is still detained. Id.

       In response to the Court’s fifth question, 13 noncitizens were removed by ICE

or ICE has verified their departure from the United States, or they are deceased. Id. ¶

9. Two noncitizens are currently detained in ICE custody. Id. ICE cannot provide

additional information on the remaining individuals as ICE does not have the ability

to readily confirm when an individual leaves the United States except through

removal efforts or verified departures. Id.




                                              4
    Case 3:23-cv-09962-TKW-ZCB     Document 74   Filed 04/22/24   Page 5 of 6



Date: April 22, 2024                Respectfully submitted,

JASON R. COODY                      BRIAN M. BOYNTON
United States Attorney              Principal Deputy Assistant Attorney General

MARIE A. MOYLE                      WILLIAM C. PEACHEY
Assistant United States Attorney    Director
Northern District of Florida
                                    EREZ REUVENI
                                    Counsel

                                    BRIAN C. WARD
                                    Senior Litigation Counsel

                                    ELISSA P. FUDIM
                                    JOSEPH A. DARROW
                                    Trial Attorneys

                                    /s/ Erin T. Ryan
                                    ERIN T. RYAN
                                    Trial Attorney
                                    U.S. Department of Justice
                                    Office of Immigration Litigation
                                    District Court Section
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, DC 20044
                                    Tel.: (202) 532-5802
                                    Erin.t.ryan@usdoj.gov

                                    Counsel for Defendants




                                       5
   Case 3:23-cv-09962-TKW-ZCB         Document 74     Filed 04/22/24   Page 6 of 6




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 22, 2024, I electronically filed the
foregoing with the Clerk of the Court using CM/ECF, which provided an electronic
notice and electronic link of the same to all attorneys of record.

                                        /s/ Erin T. Ryan
                                        ERIN T. RYAN
                                        Trial Attorney
                                        United States Department of Justice
                                        Civil Division




                                           6
